Case 2:04-cr-20333-SH|\/| Document 24 Filed 06/10/05 Page 1 of 2 Page|D 32

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IN THE UNITED sTATEs DISTRICT COURT F“'ED 3 ga

FOR THE WESTERN DISTRICT OF TENNESSEE

 

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UN:TED sTATEs oF AMERICA, wm we mg MMFWS
vs. No. 04-20333-Ma

LAMBERT MCDANIEL,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the government's June lO, 2005, motion
to reset the sentencing of Lambert McDaniel, which is presently
set for June 14, 2005. For good cause shown, the motion is

granted. The sentencing of defendant Lambert McDaniel is reset

to Friday, August 19, 2005, at 2:30 p.m.

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It is so ORDERED this day of June, 2005.

MV”"/-»»-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
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Honorable Samuel Mays
US DISTRICT COURT

